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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:06CR3062
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )         ORDER
ROBERT BERLIE,                              )
                                            )
                    Defendant.              )

      The defendant having previously admitted that he violated the conditions of
supervised release, and upon the motion of his counsel,

       IT IS ORDERED that Defendant Berlie’s revocation hearing is continued until
January 13, 2009, at 12:30 p.m., before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      October 3, 2008.                   BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
